 

JAMES A. HALEY VETERANS HOSPITAL
Mental Health Clinic
Mental Health & Behavioral Sciences
13000 Bruce B. Downs Blvd (116A)
Tampa, FL 33612

 

February 7, 2017

Re: Application for Florida Bar
Hobbs, Julius R. (xxx-xx-

To Whom It May Concern:

This letter is in regard to Mr. Hobbs’ application to the Florida Bar in support of his
eligibility to apply, and in response to request by the Florida Bar regarding “character and
fitness of all applicants for admission to the bar.” Mr. Hobbs, an Army Veteran, participated
in psychotherapy with me at the James A. Haley Veterans’ Hospital from 11/30/15 through
4/5/16, during which time he voluntarily and actively engaged in 9 psychotherapy
sessions. He presented with diagnoses (DSM-5) of Adjustment disorder with mixed anxiety
and depressed mood and Alcohol Use Disorder, mild, following the unexpected termination
of a romantic relationship. There was no evidence of psychosis or other severe mental
health concerns. During treatment, Mr. Hobbs learned and successfully used coping skills to
address mood and alcohol use. He demonstrated significant progress during this time in
terms of his employment, social interactions, applying for school, and appropriate
reduction in alcohol use. Additionally, Mr. Hobbs has called to update this provider
periodically since the end of treatment (most recently 1/27/17) regarding his status and
progress, noting that he is maintaining mood improvement and minimal (non-problematic)
alcohol use and is performing well in his law school classes. Based on Mr. Hobbs’
participation and progress in treatment, and maintained improvement, I do not foresee any
deleterious effects on his participation in the legal profession. In my opinion, further
treatment, monitoring, or supervision is not warranted at this time.

For copies of his official progress notes, Mr. Hobbs may request those via the Release of
Information Office at the James A. Haley VA Medical Center.

Sincerely,

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Michael Stewart, PhD

Clinical Psychologist

Mental Health Outpatient Clinic
James A. Haley VA Medical Center
Telephone: 813-631-2585

EXHIBIT

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